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                                UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                                                                            filed
                                      MIDLAND DIVISION                □                  FEB 2 8 2025
                                                                                      CLERK, as. D
Contique Willcot                                                                    WESTi            ['fCT clerk
                                                                                    BY                    TEXAS

vs.                                                  Case No.: 7:24-cv-00317-DC-RCG
                                                                                                     ’^'kpOty
U.S. Securities and Exchange Commission, et al.


                         MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

                    Eric Aaron Reicher
       Comes now                                                           , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

                                  U.S. Securities and Exchange Commission          in this case, and
Texas pro hac vice to represent

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               U.S. Securities and Exchange Commission                   with offices at:


               Mailing address: 100 F. St, NE

               City, State, Zip Code: Washington, DC 20549
                           .   202-551-7921                 Facsimile: 202-772-9263
               Telephone:


       2.      Since     January 10, 2005                      Applicant has been and presently is a
                                                                             District of Columbia
               member of and in good standing with the Bar of the State of
                                                   490866
               Applicant's bar license number is


       3.      Applicant has been admitted to practice before the following courts:
               Court:                                       Admission date:

               D.D.C.                                       06/05/2006

               D.C. Cir.                                    10/31/2018

               2d Cir.                                      04/06/2020
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4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragi'aph before which

     Applicant is no longer admitted to practice):
      n/a




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: V:24-cv-00322                on the 27     day of February                 2025


      Number:                              on the        day of

      Number:                              on the        day of

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any stale or federal court, except as

      provided:
      n/a




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses.

      except as provided below (omit minor traffic offenses):
      n/a




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United Slates

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                               Jason R. Rose
                 Co-counsel;


                 Mailing address: Securities and Exchange Commission, 801 Cherry St., Ste. 1900

                 City, Slate. Zip Code: Fort Worth, Texas
                               8t7_978-1408
                 Telephone;


          Should the Court grant applicant's motion. Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(tX2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Eric Aaron Reichcr
                                          to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted.
                                                        Eric Aaron Reichcr

                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                     CERTIFICATE OF SERVICE


          1 hereby certify that I have served a true and correct copy ofthis motion upon each attorney of
                                                              27
record and the original upon the Clerk of Court on this the          day of February                 2025




                                                        Eric Aaron Reichcr

                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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